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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS v/
DALLAS DIVISION —— a Dae

UNITED STATES OF AMERICA

3-21CRO093-X

V.
CHRISTIAN MICHAEL MACKEY
INDICTMENT
The Grand Jury charges:
Count One
Unlawful Sale or Disposition of a Firearm to a Convicted Felon
(Violation of 18 U.S.C. §§ 922(d)(1) and 924(a)(2))

On or about January 29, 2021, in the Dallas Division of the Northern District of
Texas, the defendant, Christian Michael Mackey, knowingly sold or disposed of a
firearm, to wit: an Anderson Manufacturing AM-15 rifle, bearing serial number
17141419, to CHS #1, who, at the time of the sale, had been convicted of a crime
punishable by imprisonment for a term exceeding one year and, at the time of the sale,
Mackey knew and had reasonable cause to believe that CHS #1 had been convicted of a

crime punishable by imprisonment for a term exceeding one year.

In violation of 18 U.S.C. §§ 922(d)(1) and 924(a)(2).

Indictment—Page 1

 
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Count Two
Possession of an Unregistered Firearm
(Violation of 26 U.S.C. §§ 5841, 5845(a)(6) and (b), 5861(d) and 5871)

On or about February 5, 2021, in the Dallas Division of the Northern District of
Texas, the defendant, Christian Michael Mackey, did knowingly possess a firearm, to-
wit: a machinegun, further described as an AK47-style 7.62 x 39 millimeter caliber rifle,
unknown manufacturer, bearing serial number 1979Z,G3478, not registered to him in the

National Firearms Registration and Transfer Record.

In violation of 26 U.S.C. §§ 5841, 5845(a)(6) and (b), 5861(d), and 5871.

Indictment—Page 2
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Count Three
Unlawful Sale or Disposition of Ammunition to a Convicted Felon
(Violation of 18 U.S.C. §§ 922(d)(1) and 924(a)(2))

On or about February 5, 2021, in the Dallas Division of the Northern District of
Texas, the defendant, Christian Michael Mackey, knowingly sold or disposed of
ammunition, to wit: ammunition associated with an Anderson Manufacturing AM-15
rifle, to CHS #1, who, at the time of the sale or disposition, had been convicted of a crime
punishable by imprisonment for a term exceeding one year and, at the time of the sale or
disposition, Mackey knew and had reasonable cause to believe that CHS #1 had been

convicted of a crime punishable by imprisonment for a term exceeding one year.

In violation of 18 U.S.C. §§ 922(d)(1) and 924(a)(2).

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Forfeiture Notice
(18 U.S.C. § 924(d), 26 U.S.C. § 5872, and 28 U.S.C. § 2461(c))

Upon conviction for the offense alleged in Counts One and Three of this
Indictment and pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), the defendant,
Christian Michael Mackey, shall forfeit to the United States of America any firearm,
magazine, and ammunition involved or used in the offense.

This property includes, but is not limited to, the following:

(1) an Anderson Manufacturing AM-15 rifle, bearing serial number 17141419
and associated ammunition.

Further, upon conviction for the offense alleged in Count Two of this Indictment,
and pursuant to 26 U.S.C. § 5872 and 28 U.S.C. § 2461(c), the defendant, Christian
Michael Mackey, shall forfeit to the United States of America any firearm, magazine,
and ammunition involved or used in the offense.

This property includes, but is not limited to, the following:

(1) An AK47-style 7.62 x 39 millimeter caliber rifle, unknown manufacturer,
bearing serial number 1979Z.G3478.

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A TRUE BILL:

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PRERAK SHAH
ACTING UNITED STATES ATTORNEY

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA

CHRISTIAN MICHAEL MACKEY

 

INDICTMENT

18 U.S.C. §§ 922(d)(1) and 924(a)(2)
Unlawful Sale or Disposition of a Firearm to a Convicted Felon
(Count 1)

26 U.S.C. §§ 5841, 5845(a)(6) and (b), 5861(d) and 5871

Possession of an Unregistered Firearm
(Count 2)

18 U.S.C. §§ 922(d)(1) and 924(a)(2)

Unlawful Sale or Disposition of Ammunition to a Convicted Felon
(Count 3)

18 U.S.C. § 924(d), 26 U.S.C. § 5872, and 28 U.S.C. § 2461(c)
Forfeiture Notice

3 Counts

 

A true bill rendered

 

DALLAS

Filed in open court this / ns day of March, 2021.

ag w e Court Number: 3:21-MJ-00105-BK

    
